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 Fill in this information to identify your case:

     United States Bankruptcy Court for the:

         District Of Maryland
     ______________

     Case number (If known): _________________________ Chapter you are filing under:
                                                                Chapter 7
                                                               
                                                               X Chapter 11
                                                                Chapter 12
                                                                Chapter 13                                                  Check if this is an
                                                                                                                                amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                            12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Part 1:       Identify Yourself

                                         About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
       Write the name that is on your
       government-issued picture         Andrew
                                         __________________________________________________            __________________________________________________
                                         First name                                                    First name
       identification (for example,
       your driver’s license or          __________________________________________________            __________________________________________________
       passport).                        Middle name                                                   Middle name

       Bring your picture                Economakis
                                         __________________________________________________            __________________________________________________
       identification to your meeting    Last name                                                     Last name
       with the trustee.                 ___________________________                                   ___________________________
                                         Suffix (Sr., Jr., II, III)                                    Suffix (Sr., Jr., II, III)




2.    All other names you                __________________________________________________            __________________________________________________
      have used in the last 8            First name                                                    First name
      years
                                         __________________________________________________            __________________________________________________
       Include your married or           Middle name                                                   Middle name
       maiden names.                     __________________________________________________            __________________________________________________
                                         Last name                                                     Last name

                                         __________________________________________________            __________________________________________________
                                         First name                                                    First name

                                         __________________________________________________            __________________________________________________
                                         Middle name                                                   Middle name
                                         __________________________________________________            __________________________________________________
                                         Last name                                                     Last name




3.    Only the last 4 digits of
      your Social Security               xxx    – xx – ____
                                                        3 ____
                                                            5 ____
                                                                7 ____
                                                                    9                                 xxx    – xx – ____ ____ ____ ____
      number or federal                  OR                                                           OR
      Individual Taxpayer
      Identification number              9 xx – xx – ____ ____ ____ ____                              9 xx – xx – ____ ____ ____ ____
      (ITIN)

Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                           page 1
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Debtor 1        Andrew Economakis
                _______________________________________________________                            Case number (if known)_____________________________________
                First Name   Middle Name             Last Name




                                           About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):


4.    Any business names
      and Employer                         
                                           X I have not used any business names or EINs.                 I have not used any business names or EINs.
      Identification Numbers
      (EIN) you have used in               _________________________________________________            _________________________________________________
      the last 8 years                     Business name                                                Business name

      Include trade names and
                                           _________________________________________________            _________________________________________________
      doing business as names              Business name                                                Business name


                                           ___ ___ – ___ ___ ___ ___ ___ ___ ___                        ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                           EIN                                                          EIN

                                           ___ ___ – ___ ___ ___ ___ ___ ___ ___                        ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                           EIN                                                          EIN




5.    Where you live                                                                                    If Debtor 2 lives at a different address:


                                           11301 South Glen Road
                                           _________________________________________________            _________________________________________________
                                           Number     Street                                            Number     Street


                                           _________________________________________________            _________________________________________________


                                           Potomac                         MD      20854
                                           _________________________________________________            _________________________________________________
                                           City                            State   ZIP Code             City                            State   ZIP Code

                                           MONTGOMERY
                                           _________________________________________________            _________________________________________________
                                           County                                                       County


                                           If your mailing address is different from the one            If Debtor 2’s mailing address is different from
                                           above, fill it in here. Note that the court will send        yours, fill it in here. Note that the court will send
                                           any notices to you at this mailing address.                  any notices to this mailing address.


                                           _________________________________________________            _________________________________________________
                                           Number     Street                                            Number     Street


                                           _________________________________________________            _________________________________________________
                                           P.O. Box                                                     P.O. Box

                                           _________________________________________________            _________________________________________________
                                           City                            State   ZIP Code             City                            State   ZIP Code




6.    Why you are choosing                 Check one:                                                   Check one:
      this district to file for
      bankruptcy                           
                                           X Over the last 180 days before filing this petition,         Over the last 180 days before filing this petition,
                                              I have lived in this district longer than in any             I have lived in this district longer than in any
                                              other district.                                              other district.

                                            I have another reason. Explain.                             I have another reason. Explain.
                                              (See 28 U.S.C. § 1408.)                                      (See 28 U.S.C. § 1408.)
                                              ________________________________________                     ________________________________________
                                              ________________________________________                     ________________________________________
                                              ________________________________________                     ________________________________________
                                              ________________________________________                     ________________________________________



     Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                   page 2
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Debtor 1        Andrew Economakis
                _______________________________________________________                            Case number (if known)_____________________________________
                First Name   Middle Name             Last Name




Part 2:       Tell the Court About Your Bankruptcy Case


7.    The chapter of the                   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you                  for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file
      under
                                            Chapter 7
                                           
                                           X Chapter 11
                                            Chapter 12
                                            Chapter 13

8.    How you will pay the fee             
                                           X I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                              local court for more details about how you may pay. Typically, if you are paying the fee
                                              yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                              submitting your payment on your behalf, your attorney may pay with a credit card or check
                                              with a pre-printed address.

                                            I need to pay the fee in installments. If you choose this option, sign and attach the
                                              Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                            I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                              By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                              less than 150% of the official poverty line that applies to your family size and you are unable to
                                              pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                              Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for                   
                                           X No
      bankruptcy within the
      last 8 years?                         Yes. District __________________________ When        _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY

                                                     District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY

                                                     District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY



10. Are any bankruptcy                     
                                           X No
      cases pending or being
      filed by a spouse who is              Yes. Debtor _________________________________________________ Relationship to you         _____________________
      not filing this case with                      District __________________________ When     _______________ Case number, if known____________________
      you, or by a business                                                                       MM / DD / YYYY
      partner, or by an
      affiliate?
                                                     Debtor _________________________________________________ Relationship to you      _____________________

                                                     District __________________________ When     _______________ Case number, if known____________________
                                                                                                  MM / DD / YYYY



11. Do you rent your                       
                                           X No. Go to line 12.
      residence?                            Yes. Has your landlord obtained an eviction judgment against you?
                                                      No. Go to line 12.
                                                      Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                         part of this bankruptcy petition.




     Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                   page 3
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Debtor 1      Andrew  Economakis
              _______________________________________________________                                   Case number (if known)_____________________________________
              First Name        Middle Name             Last Name




Part 3:     Report About Any Businesses You Own as a Sole Proprietor


12. Are you a sole proprietor                 
                                              X No. Go to Part 4.
    of any full- or part-time
    business?                                  Yes. Name and location of business
    A sole proprietorship is a
    business you operate as an                        _______________________________________________________________________________________
                                                      Name of business, if any
    individual, and is not a
    separate legal entity such as
    a corporation, partnership, or                    _______________________________________________________________________________________
                                                      Number    Street
    LLC.
    If you have more than one
                                                      _______________________________________________________________________________________
    sole proprietorship, use a
    separate sheet and attach it
    to this petition.                                 _______________________________________________          _______      __________________________
                                                       City                                                    State        ZIP Code


                                                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under                      If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
    Chapter 11 of the                         can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
    Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                              any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    are you a small business
    debtor?
                                               No. I am not filing under Chapter 11.
    For a definition of small
    business debtor, see                      
                                              X No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    11 U.S.C. § 101(51D).                             the Bankruptcy Code.

                                               Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                      Bankruptcy Code.


Part 4:     Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


14. Do you own or have any                     No
   property that poses or is
   alleged to pose a threat                    Yes. What is the hazard?        ________________________________________________________________________
   of imminent and
   identifiable hazard to                                                       ________________________________________________________________________
   public health or safety?
   Or do you own any
   property that needs
                                                        If immediate attention is needed, why is it needed? _______________________________________________
   immediate attention?
   For example, do you own                                                      ________________________________________________________________________
   perishable goods, or livestock
   that must be fed, or a building
   that needs urgent repairs?
                                                        Where is the property? ________________________________________________________________________
                                                                                Number         Street


                                                                                ________________________________________________________________________

                                                                                ________________________________________ _______           ____________________
                                                                                City                                     State             ZIP Code


  Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                    page 4
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Debtor 1      Andrew Economakis
              _______________________________________________________                                   Case number (if known)_____________________________________
              First Name     Middle Name             Last Name




Part 5:     Explain Your Efforts to Receive a Briefing About Credit Counseling

                                           About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether
   you have received a
   briefing about credit                   You must check one:                                                You must check one:
   counseling.
                                           
                                           X I received a briefing from an approved credit                     I received a briefing from an approved credit
                                              counseling agency within the 180 days before I                     counseling agency within the 180 days before I
    The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
    receive a briefing about credit           certificate of completion.                                         certificate of completion.
    counseling before you file for
                                              Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
    bankruptcy. You must
                                              plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
    truthfully check one of the
    following choices. If you
    cannot do so, you are not
                                            I received a briefing from an approved credit                     I received a briefing from an approved credit
                                              counseling agency within the 180 days before I                     counseling agency within the 180 days before I
    eligible to file.                         filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                              certificate of completion.                                         certificate of completion.
    If you file anyway, the court
                                              Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
    can dismiss your case, you
                                              you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
    will lose whatever filing fee
                                              plan, if any.                                                      plan, if any.
    you paid, and your creditors
    can begin collection activities         I certify that I asked for credit counseling                      I certify that I asked for credit counseling
    again.                                    services from an approved agency, but was                          services from an approved agency, but was
                                              unable to obtain those services during the 7                       unable to obtain those services during the 7
                                              days after I made my request, and exigent                          days after I made my request, and exigent
                                              circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                              of the requirement.                                                of the requirement.
                                              To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                              requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                              what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                              you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                              bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                              required you to file this case.                                    required you to file this case.
                                              Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                              dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                              briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                              If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                              still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                              You must file a certificate from the approved                      You must file a certificate from the approved
                                              agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                              developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                              may be dismissed.                                                  may be dismissed.
                                              Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                              only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                              days.                                                              days.

                                            I am not required to receive a briefing about                     I am not required to receive a briefing about
                                              credit counseling because of:                                      credit counseling because of:

                                               Incapacity.      I have a mental illness or a mental              Incapacity.      I have a mental illness or a mental
                                                                 deficiency that makes me                                           deficiency that makes me
                                                                 incapable of realizing or making                                   incapable of realizing or making
                                                                 rational decisions about finances.                                 rational decisions about finances.
                                               Disability.      My physical disability causes me                 Disability.      My physical disability causes me
                                                                 to be unable to participate in a                                   to be unable to participate in a
                                                                 briefing in person, by phone, or                                   briefing in person, by phone, or
                                                                 through the internet, even after I                                 through the internet, even after I
                                                                 reasonably tried to do so.                                         reasonably tried to do so.
                                               Active duty. I am currently on active military                    Active duty. I am currently on active military
                                                                 duty in a military combat zone.                                    duty in a military combat zone.
                                              If you believe you are not required to receive a                   If you believe you are not required to receive a
                                              briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                              motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




  Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                         page 5
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Debtor 1     Andrew  Economakis
             _______________________________________________________                                  Case number (if known)_____________________________________
             First Name    Middle Name             Last Name




Part 6:    Answer These Questions for Reporting Purposes

                                         16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16. What kind of debts do
                                              as “incurred by an individual primarily for a personal, family, or household purpose.”
    you have?
                                              
                                              X No. Go to line 16b.
                                               Yes. Go to line 17.
                                         16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                              money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                              
                                              X Yes. Go to line 17.
                                         16c. State the type of debts you owe that are not consumer debts or business debts.
                                              _______________________________________________________________

17. Are you filing under
    Chapter 7?                           
                                         X No. I am not filing under Chapter 7. Go to line 18.
    Do you estimate that after            Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                        administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and                                   No
    administrative expenses
    are paid that funds will be                    Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                
                                         X 1-49                                      1,000-5,000                            25,001-50,000
    you estimate that you                 50-99                                     5,001-10,000                           50,001-100,000
    owe?                                  100-199                                   10,001-25,000                          More than 100,000
                                          200-999
19. How much do you                       $0-$50,000                               
                                                                                    X $1,000,001-$10 million                 $500,000,001-$1 billion
    estimate your assets to               $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
    be worth?                             $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                          $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
20. How much do you                       $0-$50,000                               
                                                                                    X $1,000,001-$10 million                 $500,000,001-$1 billion
   estimate your liabilities              $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
   to be?                                 $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                          $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
Part 7:    Sign Below

                                         I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                  correct.
                                         If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                         of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                         under Chapter 7.
                                         If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                         this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                         I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                         I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                         with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                         18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                          /s/Andrew Economakis
                                            ______________________________________________               _____________________________
                                            Signature of Debtor 1                                            Signature of Debtor 2

                                                        05/15/2018
                                            Executed on _________________                                    Executed on __________________
                                                               MM   / DD   / YYYY                                          MM / DD     / YYYY


  Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                       page 6
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Debtor 1     Andrew Economakis
             _______________________________________________________                               Case number (if known)_____________________________________
             First Name   Middle Name             Last Name




                                        I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are           to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                      available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                        the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented              knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                        /s//s/
                                         _________________________________
                                                Justin M. Reiner                                            Date           _________________
                                                                                                                           05/15/2018
                                           Signature of Attorney for Debtor                                                MM    /   DD / YYYY




                                           Justin M. Reiner
                                           _________________________________________________________________________________________________
                                           Printed name

                                           Axelson, Williamowsky, Bender & Fishman, P.C.
                                           _________________________________________________________________________________________________
                                           Firm name

                                           1401 Rockville Pike, Suite 650
                                           _________________________________________________________________________________________________
                                           Number     Street

                                           _________________________________________________________________________________________________

                                           Rockville
                                           ______________________________________________________ MD
                                                                                                  ____________ 20852
                                                                                                               ______________________________
                                           City                                                   State        ZIP Code




                                                         (301) 738-7679
                                           Contact phone _____________________________________             Email address   jmr@awbflaw.com
                                                                                                                           ______________________________




                                           16403                                                  MD
                                           ______________________________________________________ ____________
                                           Bar number                                                      State




  Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                       page 7
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Fill in this information to identify your case and this filing:


Debtor 1          Andrew                                       Economakis
                  __________________________________________________________________
                    First Name               Middle Name               Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name               Middle Name               Last Name


                                        District of Maryland
United States Bankruptcy Court for the: ______________________________________

Case number         ___________________________________________
                                                                                                                                          Check if this is an
                                                                                                                                              amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                   12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

     No. Go to Part 2.
    
    X Yes. Where is the property?
                                                                 What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                 
                                                                 X Single-family home                               the amount of any secured claims on Schedule D:
      1.1. 11301   South Glen Road
           _________________________________________              Duplex or multi-unit building                    Creditors Who Have Claims Secured by Property.
           Street address, if available, or other description
                                                                  Condominium or cooperative                       Current value of the     Current value of the
                                                                  Manufactured or mobile home                      entire property?         portion you own?
             _________________________________________
                                                                  Land                                              1,800,000.00
                                                                                                                    $________________         1,800,000.00
                                                                                                                                             $_______________
                                                                  Investment property
             Potomac       Maryland          20854
             _________________________________________
                                                                  Timeshare                                        Describe the nature of your ownership
             City                        State      ZIP Code                                                        interest (such as fee simple, tenancy by
                                                                  Other __________________________________         the entireties, or a life estate), if known.
                                                                 Who has an interest in the property? Check one.
                                                                                                                    Tenancy  by the Entirety
                                                                                                                    __________________________________________
                                                                 Debtor 1 only
             _________________________________________
             County                                              Debtor 2 only
                                                                 Debtor 1 and Debtor 2 only                        Check if this is community property
                                                                                                                        (see instructions)
                                                                 
                                                                 X At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________
    If you own or have more than one, list here:
                                                                What is the property? Check all that apply.         Do not deduct secured claims or exemptions. Put
                                                                 Single-family home                                the amount of any secured claims on Schedule D:
      1.2. 5058   Joewood Drive
           ________________________________________              Duplex or multi-unit building                     Creditors Who Have Claims Secured by Property.
           Street address, if available, or other description
                                                                 Condominium or cooperative                        Current value of the     Current value of the
                                                                 Manufactured or mobile home                       entire property?         portion you own?
             ________________________________________
                                                                 Land                                               1,018,000.00
                                                                                                                    $________________         1,018,000.00
                                                                                                                                             $_________________
                                                                 Investment property
             Sanibel       Florida           33957
             ________________________________________
                                                                 Timeshare                                         Describe the nature of your ownership
             City                    State   ZIP Code                                                               interest (such as fee simple, tenancy by
                                                                 Other __________________________________          the entireties, or a life estate), if known.
                                                                Who has an interest in the property? Check one.     Tenancy  by the Entirety
                                                                                                                    __________________________________________

                                                                Debtor 1 only
             ________________________________________
             County                                             Debtor 2 only
                                                                Debtor 1 and Debtor 2 only                         Check if this is community property
                                                                
                                                                X At least one of the debtors and another               (see instructions)

                                                                Other information you wish to add about this item, such as local
                                                                property identification number: _______________________________


   Official Form 106A/B                                         Schedule A/B: Property                                                               page 1
                                        Case 18-16585                 Doc 1         Filed 05/15/18             Page 9 of 40
Debtor 1       Andrew                        Economakis
               _______________________________________________________                                 Case number (if known)_____________________________________
               First Name       Middle Name          Last Name




                                                                 What is the property? Check all that apply.              Do not deduct secured claims or exemptions. Put

    1.3. ________________________________________
                                                                  Single-family home                                     the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
         Street address, if available, or other description       Duplex or multi-unit building
                                                                  Condominium or cooperative                             Current value of the      Current value of the
                                                                                                                          entire property?          portion you own?
           ________________________________________               Manufactured or mobile home
                                                                  Land                                                   $________________         $_________________

           ________________________________________
                                                                  Investment property
           City                    State   ZIP Code               Timeshare                                              Describe the nature of your ownership
                                                                                                                          interest (such as fee simple, tenancy by
                                                                  Other __________________________________               the entireties, or a life estate), if known.
                                                                                                                         __________________________________________
                                                                 Who has an interest in the property? Check one.
           ________________________________________              
                                                                  Debtor 1 only
           County
                                                                 
                                                                  Debtor 2 only
                                                                 
                                                                  Debtor 1 and Debtor 2 only                               Check if this is community property
                                                                 
                                                                  At least one of the debtors and another
                                                                                                                              (see instructions)

                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                  2,818,000.00
                                                                                                                                                    $_________________
   you have attached for Part 1. Write that number here. ...................................................................................... 




Part 2:     Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   No
   
   X Yes

           Make:                      Mercedes
                                      ______________             Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
   3.1.

           Model:                     S
                                      ______________
                                                                 
                                                                 X Debtor 1 only
                                                                                                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
                                                                 Debtor 2 only
           Year:                2001
                                ____________
                                                                 Debtor 1 and Debtor 2 only                             Current value of the      Current value of the
           Approximate mileage: 138000                                                                                    entire property?          portion you own?
                                ____________                     At least one of the debtors and another
           Other information:
                                                                  Check if this is community property (see                4,000.00
                                                                                                                          $________________         $________________
                                                                    instructions)



   If you own or have more than one, describe here:

           Make:                      ______________             Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
   3.2.

           Model:                     ______________
                                                                 
                                                                  Debtor 1 only
                                                                                                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
                                                                 
                                                                  Debtor 2 only
           Year:                      ____________
                                                                 
                                                                  Debtor 1 and Debtor 2 only
                                                                                                                          Current value of the
                                                                                                                          entire property?
                                                                                                                                                    Current value of the
                                                                                                                                                    portion you own?
           Approximate mileage: ____________                     
                                                                  At least one of the debtors and another
           Other information:
                                                                  Check if this is community property (see               $________________         $________________
                                                                    instructions)




Official Form 106A/B                                             Schedule A/B: Property                                                                    page 2
                                              Case 18-16585                        Doc 1             Filed 05/15/18                      Page 10 of 40
Debtor 1           Andrew                       Economakis
                   _______________________________________________________                                                       Case number (if known)_____________________________________
                   First Name         Middle Name                Last Name




            Make:                            ______________                   Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   3.3.

            Model:                           ______________
                                                                              
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:                            ____________
                                                                              
                                                                               Debtor 1 and Debtor 2 only                                                Current value of the             Current value of the
                                                                                                                                                         entire property?                 portion you own?
            Approximate mileage: ____________                                 
                                                                               At least one of the debtors and another
            Other information:
                                                                               Check if this is community property (see                                 $________________                $________________
                                                                                   instructions)


            Make:                            ______________                   Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   3.4.

            Model:                           ______________
                                                                              
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:                            ____________
                                                                              
                                                                               Debtor 1 and Debtor 2 only                                                Current value of the             Current value of the
                                                                                                                                                         entire property?                 portion you own?
            Approximate mileage: ____________                                 
                                                                               At least one of the debtors and another
            Other information:
                                                                               Check if this is community property (see                                 $________________                $________________
                                                                                   instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   No
   
   X Yes

            Make:       Searay
                        ____________________                                  Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.1.

            Model: ____________________
                   240                                                        Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              Debtor 2 only
            Year:       2005
                        ____________
                                                                              Debtor 1 and Debtor 2 only                                               Current value of the             Current value of the
            Other information:                                                
                                                                              X At least one of the debtors and another                                  entire property?                 portion you own?

                                                                               Check if this is community property (see                                  4,000.00
                                                                                                                                                         $________________                 2,000.00
                                                                                                                                                                                          $________________
                                                                                  instructions)



   If you own or have more than one, list here:

            Make:       ____________________                                  Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.2.

            Model: ____________________                                       
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:       ____________                                                                                                                     Current value of the             Current value of the
                                                                              
                                                                               Debtor 1 and Debtor 2 only
                                                                                                                                                         entire property?                 portion you own?
            Other information:                                                
                                                                               At least one of the debtors and another

                                                                                                                                                         $________________                $________________
                                                                               Check if this is community property (see
                                                                                  instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
                                                                                                                                                                                          2,000.00
                                                                                                                                                                                         $_________________
   you have attached for Part 2. Write that number here ............................................................................................................................ 




Official Form 106A/B                                                           Schedule A/B: Property                                                                                           page 3
                                                  Case 18-16585                             Doc 1              Filed 05/15/18                         Page 11 of 40
Debtor 1            Andrew
                    First Name
                                                  Economakis
                    _______________________________________________________
                                          Middle Name                  Last Name
                                                                                                                                              Case number (if known)_____________________________________




Part 3:        Describe Your Personal and Household Items

                                                                                                                                                                                                   Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                                  portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
    No
   
   X Yes. Describe. ........ See Attachment 1                                                                                                                                                        15,000.00
                                                                                                                                                                                                    $___________________

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
   
   X No
    Yes. Describe. .........                                                                                                                                                                       $___________________

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   
   X No
    Yes. Describe. .........                                                                                                                                                                       $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   
   X No
    Yes. Describe. .........                                                                                                                                                                       $___________________

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   
   X No
    Yes. Describe. ..........                                                                                                                                                                      $___________________

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
   
   X Yes. Describe. ..........Used Men's Clothing                                                                                                                                                    1,000.00
                                                                                                                                                                                                    $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
    No
   X Yes. Describe. ..........Men's Used Rolex Watch
                                                                                                                                                                                                    3,000.00
                                                                                                                                                                                                    $___________________

13. Non-farm animals
   Examples: Dogs, cats, birds, horses

   
   X No
    Yes. Describe. ............                                                                                                                                                                    $___________________

14. Any other personal and household items you did not already list, including any health aids you did not list

   
   X No
    Yes. Give specific                                                                                                                                                                             $___________________
        information..................

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
                                                                                                                                                                                                     19,000.00
                                                                                                                                                                                                    $______________________
   for Part 3. Write that number here ........................................................................................................................................................ 



Official Form 106A/B                                                                   Schedule A/B: Property                                                                                                   page 4
                                                        Case 18-16585                                Doc 1                Filed 05/15/18                            Page 12 of 40
 Debtor 1               Andrew                        Economakis
                        _______________________________________________________                                                                             Case number (if known)_____________________________________
                        First Name              Middle Name                    Last Name




Part 4:           Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                      Current value of the
                                                                                                                                                                                                                 portion you own?
                                                                                                                                                                                                                 Do not deduct secured claims
                                                                                                                                                                                                                 or exemptions.


16. Cash
     Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition


 X No
 Yes .....................................................................................................................................................................    Cash: .......................    $__________________



17. Deposits of money
     Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
               and other similar institutions. If you have multiple accounts with the same institution, list each.
      No
     
     X Yes .....................                                                                  Institution name:


                                                17.1. Checking account:                           BB&T
                                                                                                  _________________________________________________________                                                        6,000.00
                                                                                                                                                                                                                  $__________________

                                                17.2. Checking account:                           Lafayette FCU
                                                                                                  _________________________________________________________                                                        1.00
                                                                                                                                                                                                                  $__________________

                                                17.3. Savings account:                            _________________________________________________________                                                       $__________________

                                                17.4. Savings account:                            _________________________________________________________                                                       $__________________

                                                17.5. Certificates of deposit:                    _________________________________________________________                                                       $__________________

                                                17.6. Other financial account:                    _________________________________________________________                                                       $__________________

                                                17.7. Other financial account:                    _________________________________________________________                                                       $__________________

                                                17.8. Other financial account:                    _________________________________________________________                                                       $__________________

                                                17.9. Other financial account:                    _________________________________________________________                                                       $__________________




18. Bonds, mutual funds, or publicly traded stocks
     Examples: Bond funds, investment accounts with brokerage firms, money market accounts

 X No
 Yes ..................                       Institution or issuer name:

                                                _________________________________________________________________________________________                                                                         $__________________
                                                _________________________________________________________________________________________                                                                         $__________________
                                                _________________________________________________________________________________________                                                                         $__________________




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
     an LLC, partnership, and joint venture

      No                                       Name of entity:                                                                                                                  % of ownership:
     
     X Yes. Give specific                       Potomac  Construction Group, LLC
                                                _____________________________________________________________________ 25
                                                                                                                      ___________%                                                                                 1.00
                                                                                                                                                                                                                  $__________________
           information about
           them. ........................       _____________________________________________________________________                                                            ___________%                     $__________________
                                                _____________________________________________________________________                                                            ___________%                     $__________________




 Official Form 106A/B                                                                           Schedule A/B: Property                                                                                                        page 5
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Debtor 1            Andrew
                    First Name         Middle Name
                                                  Economakis
                    _______________________________________________________
                                                              Last Name
                                                                                                        Case number (if known)_____________________________________




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.


 X No
 Yes. Give specific                  Issuer name:
        information about
        them. ......................   ______________________________________________________________________________________               $__________________
                                       ______________________________________________________________________________________
                                                                                                                                            $__________________
                                       ______________________________________________________________________________________
                                                                                                                                            $__________________


21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   
   X No
    Yes. List each
        account separately. . Type of account:                   Institution name:

                                       401(k) or similar plan:   ___________________________________________________________________        $__________________

                                       Pension plan:             ___________________________________________________________________        $__________________

                                       IRA:                      ___________________________________________________________________        $__________________

                                       Retirement account:       ___________________________________________________________________        $__________________

                                       Keogh:                    ___________________________________________________________________        $__________________

                                       Additional account:       ___________________________________________________________________        $__________________

                                       Additional account:       ___________________________________________________________________        $__________________



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

   
   X No
    Yes ...........................                         Institution name or individual:

                                       Electric:             ______________________________________________________________________         $___________________
                                       Gas:                  ______________________________________________________________________         $___________________
                                       Heating oil:          ______________________________________________________________________         $___________________
                                       Security deposit on rental unit: _____________________________________________________________
                                                                                                                                            $___________________
                                       Prepaid rent:         ______________________________________________________________________
                                                                                                                                            $___________________
                                       Telephone:            ______________________________________________________________________
                                                                                                                                            $___________________
                                       Water:                ______________________________________________________________________
                                                                                                                                            $___________________
                                       Rented furniture:     ______________________________________________________________________
                                                                                                                                            $___________________
                                       Other:                ______________________________________________________________________
                                                                                                                                            $___________________


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   
   X No
    Yes ...........................   Issuer name and description:
                                        _______________________________________________________________________________________             $__________________
                                       _______________________________________________________________________________________              $__________________
                                       _______________________________________________________________________________________              $__________________


Official Form 106A/B                                                      Schedule A/B: Property                                                        page 6
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Debtor 1           Andrew                        Economakis
                   _______________________________________________________                                   Case number (if known)_____________________________________
                   First Name           Middle Name           Last Name




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   
   X No
    Yes .....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

                                                 ____________________________________________________________________________________                 $_________________
                                                 ____________________________________________________________________________________                 $_________________
                                                 ____________________________________________________________________________________                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

   
   X No
    Yes. Give specific
        information about them. ..                                                                                                                    $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   
   X No
    Yes. Give specific
        information about them. ..                                                                                                                    $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   
   X No
    Yes. Give specific
        information about them. ..                                                                                                                    $__________________


Money or property owed to you?                                                                                                                        Current value of the
                                                                                                                                                      portion you own?
                                                                                                                                                      Do not deduct secured
                                                                                                                                                      claims or exemptions.

28. Tax refunds owed to you

    No
   
   X Yes. Give specific information                         2017 Federal Tax Refunds; 2017 State Tax Refunds                Federal:               1.00
                                                                                                                                                  $_________________
                about them, including whether
                you already filed the returns                                                                               State:                $_________________
                                                                                                                                                   1.00
                and the tax years. ......................
                                                                                                                            Local:                 0.00
                                                                                                                                                  $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   
   X No
    Yes. Give specific information. .............
                                                                                                                           Alimony:                   $________________
                                                                                                                           Maintenance:               $________________
                                                                                                                           Support:                   $________________
                                                                                                                           Divorce settlement:        $________________
                                                                                                                           Property settlement:       $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
   
   X No
    Yes. Give specific information. ...............
                                                                                                                                                      $______________________



Official Form 106A/B                                                      Schedule A/B: Property                                                                page 7
                                                  Case 18-16585                             Doc 1              Filed 05/15/18                         Page 15 of 40
Debtor 1            Andrew
                    First Name
                                                  Economakis
                    _______________________________________________________
                                          Middle Name                  Last Name
                                                                                                                                              Case number (if known)_____________________________________




31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
   
   X No
    Yes. Name the insurance company                                  Company name:                                                              Beneficiary:                                        Surrender or refund value:
                of each policy and list its value. ....
                                                                      ___________________________________________ ____________________________                                                       $__________________
                                                                      ___________________________________________ ____________________________                                                       $__________________
                                                                      ___________________________________________ ____________________________                                                       $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
   
   X No
    Yes. Give specific information. .............
                                                                                                                                                                                                     $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
    No
   
   X Yes. Describe each claim. ..................... See Attachment 2
                                                                                                                                                                                                      4,200,000.00
                                                                                                                                                                                                     $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
   
   X No
    Yes. Describe each claim. .....................
                                                                                                                                                                                                     $_____________________




35. Any financial assets you did not already list

   
   X No
    Yes. Give specific information. ...........                                                                                                                                                     $_____________________



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here ........................................................................................................................................................       4,206,004.00
                                                                                                                                                                                                     $_____________________




Part 5:          Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

   
   X No. Go to Part 6.
    Yes. Go to line 38.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

38. Accounts receivable or commissions you already earned


 X No
  Yes. Describe ........
                                                                                                                                                                                                   $_____________________

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

   
   X No
    Yes. Describe ........                                                                                                                                                                        $_____________________



Official Form 106A/B                                                                   Schedule A/B: Property                                                                                                   page 8
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Debtor 1            Andrew                        Economakis
                    _______________________________________________________                                                                   Case number (if known)_____________________________________
                    First Name            Middle Name                  Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   
   X No
    Yes. Describe ........                                                                                                                                                                        $_____________________


41. Inventory
   
   X No
    Yes. Describe ........                                                                                                                                                                        $_____________________


42. Interests in partnerships or joint ventures

   
   X No
    Yes. Describe ........ Name of entity:                                                                                                                           % of ownership:
                                        ______________________________________________________________________                                                        ________%                    $_____________________
                                        ______________________________________________________________________                                                        ________%                    $_____________________
                                        ______________________________________________________________________                                                        ________%                    $_____________________


43. Customer lists, mailing lists, or other compilations
 
 X No
 Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
        
        X No
         Yes. Describe.........
                                                                                                                                                                                                   $____________________


44. Any business-related property you did not already list
   
   X No
    Yes. Give specific                 ______________________________________________________________________________________                                                                     $____________________
        information .........
                                        ______________________________________________________________________________________                                                                      $____________________
                                       ______________________________________________________________________________________                                                                      $____________________
                                       ______________________________________________________________________________________                                                                      $____________________
                                       ______________________________________________________________________________________                                                                      $____________________

                                        ______________________________________________________________________________________                                                                      $____________________

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
                                                                                                                                                                                                    0.00
                                                                                                                                                                                                   $____________________
   for Part 5. Write that number here ........................................................................................................................................................ 




Part 6:          Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                 If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   
   X No. Go to Part 7.
    Yes. Go to line 47.
                                                                                                                                                                                                 Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
   
   X No
    Yes ...........................
                                                                                                                                                                                                     $___________________



Official Form 106A/B                                                                   Schedule A/B: Property                                                                                                   page 9
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 Debtor 1              Andrew
                       First Name
                                                    Economakis
                       _______________________________________________________
                                              Middle Name                   Last Name
                                                                                                                                                      Case number (if known)_____________________________________




48. Crops—either growing or harvested

     
     X No
      Yes. Give specific
           information. ............                                                                                                                                                                           $___________________

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
     
     X No
      Yes ...........................
                                                                                                                                                                                                               $___________________

50. Farm and fishing supplies, chemicals, and feed

     
     X No
      Yes ...........................
                                                                                                                                                                                                               $___________________

51. Any farm- and commercial fishing-related property you did not already list

 X No
  Yes. Give specific
           information. ............                                                                                                                                                                           $___________________

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
                                                                                                                                                                                                                0.00
                                                                                                                                                                                                               $___________________
     for Part 6. Write that number here ........................................................................................................................................................ 



Part 7:             Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

     
     X No
                                                                                                                                                                                                                $________________
      Yes. Give specific
           information. ............                                                                                                                                                                            $________________
                                                                                                                                                                                                                $________________


54. Add the dollar value of all of your entries from Part 7. Write that number here ...................................................................                                                        $________________




Part 8:             List the Totals of Each Part of this Form


55. Part 1: Total real estate, line 2 ....................................................................................................................................................................     2,818,000.00
                                                                                                                                                                                                               $________________

56. Part 2: Total vehicles, line 5                                                                                    2,000.00
                                                                                                                     $________________

57. Part 3: Total personal and household items, line 15                                                               19,000.00
                                                                                                                     $________________

58. Part 4: Total financial assets, line 36                                                                           4,206,004.00
                                                                                                                     $________________

59. Part 5: Total business-related property, line 45                                                                  0.00
                                                                                                                     $________________

60. Part 6: Total farm- and fishing-related property, line 52                                                         0.00
                                                                                                                     $________________

61. Part 7: Total other property not listed, line 54                                                             + $________________
                                                                                                                    0.00

62. Total personal property. Add lines 56 through 61. ...................                                             4,227,004.00
                                                                                                                     $________________ Copy personal property total  + $_________________
                                                                                                                                                                         4,227,004.00


63. Total of all property on Schedule A/B. Add line 55 + line 62. .......................................................................................                                                       7,045,004.00
                                                                                                                                                                                                               $_________________



 Official Form 106A/B                                                                        Schedule A/B: Property                                                                                                     page 10
                               Case 18-16585             Doc 1       Filed 05/15/18          Page 18 of 40


                                                 Attachment
                                      Debtor: Andrew Economakis Case No:


Attachment 1
     Couches, chairs, kitchen table, dining room table, living room furniture, family room furniture, bedroom sets, beds, miscellaneous household
     furnishings, miscellaneous household electronics, miscellaneous household appliances
Attachment 2
     Lawsuit Against LaFayette FCU - Breach of Contract/Fraud; Lawsuit Against Potomac Business Services; Lawsuit Against Devin Blum; Lawsuit
     Against John Farmakides; Lawsuit Against Jeb Brown; Lawsuit Against KAB2014, LLC
                                    Case 18-16585               Doc 1             Filed 05/15/18         Page 19 of 40

 Fill in this information to identify your case:

 Debtor 1          Andrew  Economakis
                   __________________________________________________________________
                     First Name             Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name               Last Name


 United States Bankruptcy Court for the: District of Maryland
                                         _____________________________________________
                                          __________   District of __________

 Case number
  (If known)
                     ___________________________________________                                                                                   Check if this is an
                                                                                                                                                         amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                            04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on      Current value of the       Amount of the exemption you claim         Specific laws that allow exemption
       Schedule A/B that lists this property              portion you own
                                                          Copy the value from        Check only one box for each exemption.
                                                          Schedule A/B

      Brief        5058 Joewood Drive                                                                                         U.S.C. 11 § 522(b)(3)(B)
                                                                                                                              ____________________________
      description: _________________________
                                                           1,018,000.00
                                                          $________________          
                                                                                     X $ 400,000.00
                                                                                         ____________                         ____________________________
      Line from                                                                       100% of fair market value, up to       ____________________________
      Schedule A/B: 1.1                                                                 any applicable statutory limit       ____________________________
                    ______

      Brief        Checking Account with BB&T                                                                                 Md. Code Ann., Cts. & Jud. Proc. § 11-504(b)(5)
                                                                                                                              ____________________________
      description: _________________________
                                                           6,000.00
                                                          $________________             3,000.00
                                                                                     X $ ____________                         ____________________________
      Line from                                                                       100% of fair market value, up to       ____________________________
      Schedule A/B: 17.1
                    ______                                                              any applicable statutory limit        ____________________________

      Brief        Checking Account with Lafayette                                                                            ____________________________
      description: FCU
                                                    1.00
                                                   $________________                 
                                                                                     X $ ____________                         ____________________________
                       _________________________
      Line from                                                                       100% of fair market value, up to       ____________________________
      Schedule A/B: ______                                                              any applicable statutory limit        ____________________________
                    17.2

 3. Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     X No
      Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        No
        Yes

Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                          page 1 of 2
                                                                                                                                                                          __
                                     Case 18-16585           Doc 1           Filed 05/15/18         Page 20 of 40
Debtor 1     Andrew  Economakis
             _______________________________________________________                           Case number (if known)_____________________________________
             First Name       Middle Name      Last Name




 Part 2:    Additional Page

      Brief description of the property and line       Current value of the     Amount of the exemption you claim        Specific laws that allow exemption
      on Schedule A/B that lists this property         portion you own
                                                       Copy the value from      Check only one box for each exemption
                                                       Schedule A/B

     Brief        2001 Mercedes S with 138000                                                                           Md. Code Ann., Cts. & Jud. Proc. § 11-504(f)(1)(i)1
                                                                                                                        ____________________________
     description: miles.
                  _________________________
                                                       $________________           4,000.00
                                                                                X $ ____________                        ____________________________
     Line from                                                                   100% of fair market value, up to      ____________________________
     Schedule A/B: 3.1
                   ______                                                          any applicable statutory limit      ____________________________

     Brief        See Attachment 1                                                                                      Md. Code Ann., Cts. & Jud. Proc. § 11-504(b)(4)
                                                                                                                        ____________________________
     description: _________________________             15,000.00
                                                       $________________        
                                                                                X $ ____________
                                                                                    2,000.00                            Md. Code Ann., Cts. & Jud. Proc. § 11-504(f)(1)(i)1
                                                                                                                        ____________________________
     Line from                                                                   100% of fair market value, up to      ____________________________
                                                                                   any applicable statutory limit       ____________________________
     Schedule A/B:        6
                          ______

     Brief        Men's Used Rolex Watch                                                                                Md. Code Ann., Cts. & Jud. Proc. § 11-504(b)(5)
                                                                                                                        ____________________________
     description: _________________________
                                                        3,000.00
                                                       $________________           3,000.00
                                                                                X $ ____________                        ____________________________
     Line from                                                                   100% of fair market value, up to      ____________________________
                                                                                   any applicable statutory limit       ____________________________
     Schedule A/B: 12
                   ______

     Brief                                                                                                              ____________________________
     description: _________________________            $________________         $ ____________                        ____________________________
     Line from                                                                   100% of fair market value, up to      ____________________________
     Schedule A/B: ______                                                          any applicable statutory limit      ____________________________

     Brief                                                                                                              ____________________________
     description: _________________________            $________________         $ ____________                        ____________________________
     Line from                                                                   100% of fair market value, up to      ____________________________
                                                                                   any applicable statutory limit       ____________________________
     Schedule A/B:
                          ______

     Brief                                                                                                              ____________________________
     description: _________________________            $________________         $ ____________                        ____________________________
     Line from                                                                   100% of fair market value, up to      ____________________________
                                                                                   any applicable statutory limit       ____________________________
     Schedule A/B: ______

     Brief                                                                                                              ____________________________
     description: _________________________            $________________         $ ____________                        ____________________________
     Line from                                                                   100% of fair market value, up to      ____________________________
     Schedule A/B: ______                                                          any applicable statutory limit      ____________________________

     Brief                                                                                                              ____________________________
     description: _________________________            $________________         $ ____________                        ____________________________
     Line from                                                                   100% of fair market value, up to      ____________________________
                                                                                   any applicable statutory limit       ____________________________
     Schedule A/B:
                          ______

     Brief                                                                                                              ____________________________
     description: _________________________            $________________         $ ____________                        ____________________________
     Line from                                                                   100% of fair market value, up to      ____________________________
                                                                                   any applicable statutory limit       ____________________________
     Schedule A/B: ______

     Brief                                                                                                              ____________________________
     description: _________________________            $________________         $ ____________                        ____________________________
     Line from                                                                   100% of fair market value, up to      ____________________________
     Schedule A/B: ______                                                          any applicable statutory limit      ____________________________

     Brief                                                                                                              ____________________________
     description: _________________________            $________________         $ ____________                        ____________________________
     Line from                                                                   100% of fair market value, up to      ____________________________
                                                                                   any applicable statutory limit       ____________________________
     Schedule A/B:
                          ______

     Brief                                                                                                              ____________________________
     description:                                      $________________         $ ____________                        ____________________________
                    _________________________
     Line from                                                                   100% of fair market value, up to      ____________________________
                                                                                   any applicable statutory limit       ____________________________
     Schedule A/B: ______


Official Form 106C                                   Schedule C: The Property You Claim as Exempt                                                         2 of 2__
                                                                                                                                                     page ___
                                Case 18-16585             Doc 1        Filed 05/15/18          Page 21 of 40


                                                  Attachment
                                       Debtor: Andrew Economakis Case No:


Attachment 1
     Couches, chairs, kitchen table, dining room table, living room furniture, family room furniture, bedroom sets, beds, miscellaneous household
     furnishings, miscellaneous household electronics, miscellaneous household appliances
                                     Case 18-16585                       Doc 1        Filed 05/15/18            Page 22 of 40

Fill in this information to identify your case:

Debtor 1          Andrew  Economakis
                  __________________________________________________________________
                    First Name             Middle Name                    Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name             Middle Name                    Last Name


United States Bankruptcy Court for the: District of Maryland
                                        ______________________________________

Case number         ___________________________________________
(If known)                                                                                                                                            Check if this is an
                                                                                                                                                         amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
       No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      
      X Yes. Fill in all of the information below.

Part 1:         List All Secured Claims
                                                                                                                        Column A               Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately                 Amount of claim        Value of collateral   Unsecured
      for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.             Do not deduct the      that supports this    portion
      As much as possible, list the claims in alphabetical order according to the creditor’s name.                      value of collateral.   claim                 If any

2.1                                                      Describe the property that secures the claim:                   198,814.00
                                                                                                                        $_________________  1,800,000.00 $____________
                                                                                                                                           $________________ 0.00
      BB&T
      ______________________________________
      Creditor’s Name

      PO  Box 580048
      ______________________________________
      Number            Street

                                                         As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                              Contingent
      Charlotte             NC 28258
      ______________________________________  Unliquidated
      City                   State ZIP Code   Disputed
   Who owes the debt? Check one.                         Nature of lien. Check all that apply.
   
   X Debtor 1 only                                       
                                                         X An agreement you made (such as mortgage or secured
    Debtor 2 only                                           car loan)
    Debtor 1 and Debtor 2 only                           Statutory lien (such as tax lien, mechanic’s lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
                                                          Other (including a right to offset) ____________________
    Check if this claim relates to a
      community debt
   Date debt was incurred ____________                                                    6 ___
                                                         Last 4 digits of account number ___ 0 ___
                                                                                                0 ___
                                                                                                   1
2.2                                                      Describe the property that secures the claim:                   53,895.97
                                                                                                                        $_________________  1,018,000.00 $____________
                                                                                                                                           $________________ 0.00
      Eagle Bank
      ______________________________________
      Creditor’s Name

      7815 Woodmont Avenue
      ______________________________________
      Number            Street

                                                         As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                              Contingent
      Bethesda              MD 20814
      ______________________________________  Unliquidated
      City                   State ZIP Code   Disputed
   Who owes the debt? Check one.                         Nature of lien. Check all that apply.
   
   X Debtor 1 only                                       
                                                         X An agreement you made (such as mortgage or secured
    Debtor 2 only                                           car loan)
    Debtor 1 and Debtor 2 only                           Statutory lien (such as tax lien, mechanic’s lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
                                                          Other (including a right to offset) ____________________
    Check if this claim relates to a
      community debt
   Date debt was incurred ____________                                                    0 ___
                                                         Last 4 digits of account number ___ 0 ___
                                                                                                0 ___
                                                                                                   1
      Add the dollar value of your entries in Column A on this page. Write that number here:                             252,709.97
                                                                                                                        $_________________


  Official Form 106D                        Schedule D: Creditors Who Have Claims Secured by Property                                                                 3
                                                                                                                                                           page 1 of ___
                                        Case 18-16585                   Doc 1     Filed 05/15/18              Page 23 of 40
Debtor 1         Andrew  Economakis
                 _______________________________________________________                                Case number (if known)_____________________________________
                 First Name      Middle Name          Last Name




               Additional Page                                                                                        Column A               Column B              Column C
Part 1:                                                                                                               Amount of claim        Value of collateral   Unsecured
               After listing any entries on this page, number them beginning with 2.3, followed                                              that supports this    portion
                                                                                                                      Do not deduct the
               by 2.4, and so forth.                                                                                  value of collateral.   claim                 If any
2.3                                                    Describe the property that secures the claim:                   1,242,940.00
                                                                                                                      $_________________  1,800,000.00 $____________
                                                                                                                                         $________________ 0.00
      Lafayette FCU
      ______________________________________
      Creditor’s Name

      3535  University Boulevard
      ______________________________________
      Number            Street

      ______________________________________           As of the date you file, the claim is: Check all that apply.

      Kensington             MD 20895
      ______________________________________  Contingent
      City                   State ZIP Code   Unliquidated
                                              Disputed
   Who owes the debt? Check one.                       Nature of lien. Check all that apply.
   
   X Debtor 1 only                                     
                                                       X An agreement you made (such as mortgage or secured
    Debtor 2 only                                          car loan)
    Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic’s lien)
    At least one of the debtors and another            Judgment lien from a lawsuit
                                                        Other (including a right to offset) ____________________
    Check if this claim relates to a
           community debt

   Date debt was incurred ____________                                                  0 ___
                                                       Last 4 digits of account number ___ 0 ___
                                                                                              4 ___
                                                                                                 3

2.4                                                    Describe the property that secures the claim:                   566,516.00
                                                                                                                      $_________________  1,018,000.00 $____________
                                                                                                                                         $________________ 0.00
      SPS  Select Portfolio
      ______________________________________
      Creditor’s Name

      PO  Box 65250
      ______________________________________
      Number            Street

                                                       As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                              Contingent
      Salt Lake City          UT 84165
      ______________________________________  Unliquidated
      City                   State ZIP Code
                                              Disputed
   Who owes the debt? Check one.
                                                       Nature of lien. Check all that apply.
   
   X Debtor 1 only                                     
                                                       X An agreement you made (such as mortgage or secured
    Debtor 2 only                                          car loan)
    Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic’s lien)
    At least one of the debtors and another            Judgment lien from a lawsuit
    Check if this claim relates to a                   Other (including a right to offset) ____________________
           community debt

   Date debt was incurred ____________                                                  3 ___
                                                       Last 4 digits of account number ___ 6 0___ ___
                                                                                                   0

2.5                                                    Describe the property that secures the claim:                  $_________________ $________________ $____________
      ______________________________________
      Creditor’s Name

      ______________________________________
      Number            Street

      ______________________________________           As of the date you file, the claim is: Check all that apply.
      ______________________________________            Contingent
      City                         State   ZIP Code     Unliquidated
                                                        Disputed
   Who owes the debt? Check one.                       Nature of lien. Check all that apply.
    Debtor 1 only                                      An agreement you made (such as mortgage or secured
    Debtor 2 only                                          car loan)
    Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic’s lien)
    At least one of the debtors and another            Judgment lien from a lawsuit
                                                        Other (including a right to offset) ____________________
    Check if this claim relates to a
           community debt
   Date debt was incurred ____________                 Last 4 digits of account number ___ ___ ___ ___

             Add the dollar value of your entries in Column A on this page. Write that number here: $_________________
                                                                                                     1,809,456.00
             If this is the last page of your form, add the dollar value totals from all pages.
             Write that number here:                                                                                   2,062,165.97
                                                                                                                      $_________________

  Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                            2 of ___
                                                                                                                                                         page ___    3
                                    Case 18-16585             Doc 1        Filed 05/15/18            Page 24 of 40
Debtor 1       Andrew  Economakis
               _______________________________________________________                          Case number (if known)_____________________________________
               First Name    Middle Name        Last Name


  Part 2:      List Others to Be Notified for a Debt That You Already Listed

  Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
  agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
  you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
  be notified for any debts in Part 1, do not fill out or submit this page.

                                                                                           On which line in Part 1 did you enter the creditor? 2.3
                                                                                                                                               _____
      William R. Feldman, Esq.
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number 0
                                                                                                                           ___ 0
                                                                                                                               ___ 4
                                                                                                                                   ___ 3
                                                                                                                                       ___

      Feldman  & Associates, P.C.
      _____________________________________________________________________
      Number        Street

      451 Hungerford Drive, Suite 210
      _____________________________________________________________________

      Rockville                                              20850
      _____________________________________________________________________
      City                                         State           ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code



  Official Form 106D                       Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                               page 3
                                                                                                                                                  ___ of 3
                                                                                                                                                         ___
                                     Case 18-16585                Doc 1            Filed 05/15/18           Page 25 of 40
 Fill in this information to identify your case:

 Debtor 1          Andrew                                      Economakis
                   __________________________________________________________________
                     First Name               Middle Name              Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name               Middle Name              Last Name


 United States Bankruptcy Court for the: District of Maryland
                                         ______________________________________
                                                                                                                                                Check if this is an
 Case number         ___________________________________________
  (If known)                                                                                                                                      amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                           12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 Part 1:          List All of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims against you?
         No. Go to Part 2.
        
        X Yes.
      2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
        each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
        nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
        unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
        (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                Total claim    Priority     Nonpriority
                                                                                                                                               amount       amount
2.1
         Treasury Division Montgomery County
         ____________________________________________           Last 4 digits of account number ___ ___ ___ ___             20,800.27
                                                                                                                           $_____________  20,800.27 $____________
                                                                                                                                          $___________
         Priority Creditor’s Name

         255 Rockville Pike
         ____________________________________________           When was the debt incurred?         ____________
         Number           Street
         See Attachment 1
         ____________________________________________           As of the date you file, the claim is: Check all that apply.
         Rockville             MD      20850
         ____________________________________________            Contingent
         City                         State      ZIP Code
                                                                 Unliquidated
         Who incurred the debt? Check one.
                                                                 Disputed
         
         X Debtor 1 only
          Debtor 2 only                                        Type of PRIORITY unsecured claim:
          Debtor 1 and Debtor 2 only                            Domestic support obligations
          At least one of the debtors and another              
                                                                X Taxes and certain other debts you owe the government
          Check if this claim is for a community debt           Claims for death or personal injury while you were
         Is the claim subject to offset?                            intoxicated
         
         X No                                                    Other. Specify _________________________________
          Yes
2.2
         ____________________________________________           Last 4 digits of account number ___ ___ ___ ___                $_____________ $___________ $____________
         Priority Creditor’s Name
                                                                When was the debt incurred?         ____________
         ____________________________________________
         Number           Street
         ____________________________________________           As of the date you file, the claim is: Check all that apply.

         ____________________________________________
                                                                 Contingent
         City                         State      ZIP Code        Unliquidated
         Who incurred the debt? Check one.                       Disputed
          Debtor 1 only                                        Type of PRIORITY unsecured claim:
          Debtor 2 only
                                                                 Domestic support obligations
          Debtor 1 and Debtor 2 only
          At least one of the debtors and another               Taxes and certain other debts you owe the government
                                                                 Claims for death or personal injury while you were
          Check if this claim is for a community debt              intoxicated
         Is the claim subject to offset?                         Other. Specify _________________________________
          No
          Yes

Official Form 106E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                       5
                                                                                                                                                    page 1 of ___
                Andrew
                                            Case 18-16585
                                                     Economakis
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Debtor 1        _______________________________________________________                            Case number (if known)_____________________________________
                First Name           Middle Name    Last Name


  Part 2:       List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      
      X Yes
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      priority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than four priority unsecured claims
      fill out the Continuation Page of Part 2.

                                                                                                                                                        Total claim
4.1
       American International Export, Inc.
       _____________________________________________________________            Last 4 digits of account number ___ ___ ___ ___
       Nonpriority Creditor’s Name                                                                                                                     7,393.21
                                                                                                                                                      $__________________
                                                                                When was the debt incurred?            ____________
       See  Attachment 2
       _____________________________________________________________
       Number          Street

       Rockville                      MD      20850
       _____________________________________________________________
       City                                        State        ZIP Code        As of the date you file, the claim is: Check all that apply.

                                                                                 Contingent
       Who incurred the debt? Check one.                                         Unliquidated
       
       X Debtor 1 only                                                           Disputed
        Debtor 2 only
        Debtor 1 and Debtor 2 only                                             Type of NONPRIORITY unsecured claim:
        At least one of the debtors and another                                 Student loans
        Check if this claim is for a community debt                             Obligations arising out of a separation agreement or divorce
                                                                                    that you did not report as priority claims
       Is the claim subject to offset?                                           Debts to pension or profit-sharing plans, and other similar debts
       
       X No                                                                      Other. Specify ______________________________________
        Yes
4.2                                                                                                              0 ___
                                                                                Last 4 digits of account number ___ 5 ___
                                                                                                                       5 7___                          4,000.00
                                                                                                                                                      $__________________
       Bank of America
       _____________________________________________________________
       Nonpriority Creditor’s Name                                              When was the debt incurred?            ____________
       PO Box 982238
       _____________________________________________________________
       Number          Street
                                                                                As of the date you file, the claim is: Check all that apply.
       El Paso                        TX      79998
       _____________________________________________________________
       City                                        State        ZIP Code
                                                                                 Contingent
       Who incurred the debt? Check one.                                         Unliquidated
       
       X Debtor 1 only                                                           Disputed
        Debtor 2 only
                                                                                Type of NONPRIORITY unsecured claim:
        Debtor 1 and Debtor 2 only
        At least one of the debtors and another                                 Student loans
                                                                                 Obligations arising out of a separation agreement or divorce
        Check if this claim is for a community debt                                that you did not report as priority claims
       Is the claim subject to offset?                                           Debts to pension or profit-sharing plans, and other similar debts
       
       X No                                                                     
                                                                                X Other. Specify Credit  Card Charges
                                                                                                 ______________________________________

        Yes
4.3
       Capital One
       _____________________________________________________________            Last 4 digits of account number ___ ___ ___ ___
                                                                                                                                                       3,700.00
       Nonpriority Creditor’s Name                                                                                                                    $_________________
                                                                                When was the debt incurred?            ____________
       PO Box 71083
       _____________________________________________________________
       Number          Street

       Charlotte                      NC      28272
       _____________________________________________________________            As of the date you file, the claim is: Check all that apply.
       City                                        State        ZIP Code

                                                                                 Contingent
       Who incurred the debt? Check one.
                                                                                 Unliquidated
       
       X Debtor 1 only
                                                                                 Disputed
        Debtor 2 only
        Debtor 1 and Debtor 2 only                                             Type of NONPRIORITY unsecured claim:
        At least one of the debtors and another
                                                                                 Student loans
        Check if this claim is for a community debt                             Obligations arising out of a separation agreement or divorce
                                                                                    that you did not report as priority claims
       Is the claim subject to offset?
                                                                                 Debts to pension or profit-sharing plans, and other similar debts
       
       X No
                                                                                
                                                                                X Other. Specify Credit  Card Charges
                                                                                                 ______________________________________
        Yes


  Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                          2 of ___
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                Andrew
                                           Case 18-16585
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Debtor 1        _______________________________________________________                          Case number (if known)_____________________________________
                First Name          Middle Name      Last Name



 Part 2:       Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                Total claim


4.4                                                                                                              2 ___
                                                                                Last 4 digits of account number ___ 8 ___
                                                                                                                       9 ___
                                                                                                                          7
      Discover
      _____________________________________________________________                                                                                    1,168.30
                                                                                                                                                      $____________
      Nonpriority Creditor’s Name
                                                                                When was the debt incurred?            ____________
      PO Box 71084
      _____________________________________________________________
      Number          Street
                                                                                As of the date you file, the claim is: Check all that apply.
      Charlotte                      NC      28272
      _____________________________________________________________
      City                                        State          ZIP Code        Contingent
                                                                                 Unliquidated
      Who incurred the debt? Check one.                                          Disputed
      
      X Debtor 1 only
       Debtor 2 only                                                           Type of NONPRIORITY unsecured claim:
       Debtor 1 and Debtor 2 only                                               Student loans
       At least one of the debtors and another                                  Obligations arising out of a separation agreement or divorce that
                                                                                    you did not report as priority claims
       Check if this claim is for a community debt
                                                                                 Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                          Credit Card Charges
                                                                                X Other. Specify________________________________
      
      X No
       Yes

4.5
      Jeremy E. Brown                                                           Last 4 digits of account number ___ ___ ___ ___                        33,641.97
                                                                                                                                                      $____________
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                When was the debt incurred?            ____________
      See Attachment 3
      _____________________________________________________________
      Number          Street
                                                                                As of the date you file, the claim is: Check all that apply.
      Lexington                              24450
      _____________________________________________________________
      City                                        State          ZIP Code        Contingent
                                                                                 Unliquidated
      Who incurred the debt? Check one.                                          Disputed
      
      X Debtor 1 only
       Debtor 2 only                                                           Type of NONPRIORITY unsecured claim:
       Debtor 1 and Debtor 2 only                                               Student loans
       At least one of the debtors and another                                  Obligations arising out of a separation agreement or divorce that
                                                                                    you did not report as priority claims
       Check if this claim is for a community debt
                                                                                 Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                            Other. Specify________________________________
       No
      
      X Yes

4.6                                                                                                                                                    33,641.19
                                                                                                                                                      $____________
                                                                                Last 4 digits of account number ___ ___ ___ ___
      Red  Hammer, LLP
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                When was the debt incurred?            ____________
      See Attachment 4
      _____________________________________________________________
      Number          Street
                                                                                As of the date you file, the claim is: Check all that apply.
      Lexington                                  24450
      _____________________________________________________________
      City                                        State          ZIP Code        Contingent
                                                                                 Unliquidated
      Who incurred the debt? Check one.                                          Disputed
      
      X Debtor 1 only
       Debtor 2 only                                                           Type of NONPRIORITY unsecured claim:
       Debtor 1 and Debtor 2 only                                               Student loans
       At least one of the debtors and another                                  Obligations arising out of a separation agreement or divorce that
                                                                                    you did not report as priority claims
       Check if this claim is for a community debt
                                                                                 Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                            Other. Specify________________________________
       No
      
      X Yes



  Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                                    3 of ___
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Debtor 1        _______________________________________________________                          Case number (if known)_____________________________________
                First Name          Middle Name      Last Name



 Part 2:       Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                Total claim


4.7                                                                             Last 4 digits of account number ___ ___ ___ ___
      _____________________________________________________________                                                                                   $____________
      Nonpriority Creditor’s Name
                                                                                When was the debt incurred?            ____________
      _____________________________________________________________
      Number          Street
                                                                                As of the date you file, the claim is: Check all that apply.
      _____________________________________________________________
      City                                        State          ZIP Code        Contingent
                                                                                 Unliquidated
      Who incurred the debt? Check one.                                          Disputed
      
      X Debtor 1 only
       Debtor 2 only                                                           Type of NONPRIORITY unsecured claim:
       Debtor 1 and Debtor 2 only                                               Student loans
       At least one of the debtors and another                                  Obligations arising out of a separation agreement or divorce that
                                                                                    you did not report as priority claims
       Check if this claim is for a community debt
                                                                                 Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                            Other. Specify________________________________
      
      X No
       Yes

4.8
                                                                                Last 4 digits of account number ___ ___ ___ ___                       $____________
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                When was the debt incurred?            ____________
      _____________________________________________________________
      Number          Street
                                                                                As of the date you file, the claim is: Check all that apply.
      _____________________________________________________________
      City                                        State          ZIP Code        Contingent
                                                                                 Unliquidated
      Who incurred the debt? Check one.                                          Disputed
       Debtor 1 only
       Debtor 2 only                                                           Type of NONPRIORITY unsecured claim:
       Debtor 1 and Debtor 2 only                                               Student loans
       At least one of the debtors and another                                  Obligations arising out of a separation agreement or divorce that
                                                                                    you did not report as priority claims
       Check if this claim is for a community debt
                                                                                 Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                            Other. Specify________________________________
       No
       Yes

4.9                                                                                                                                                   $____________
                                                                                Last 4 digits of account number ___ ___ ___ ___
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                When was the debt incurred?            ____________
      _____________________________________________________________
      Number          Street
                                                                                As of the date you file, the claim is: Check all that apply.
      _____________________________________________________________
      City                                        State          ZIP Code        Contingent
                                                                                 Unliquidated
      Who incurred the debt? Check one.                                          Disputed
       Debtor 1 only
       Debtor 2 only                                                           Type of NONPRIORITY unsecured claim:
       Debtor 1 and Debtor 2 only                                               Student loans
       At least one of the debtors and another                                  Obligations arising out of a separation agreement or divorce that
                                                                                    you did not report as priority claims
       Check if this claim is for a community debt
                                                                                 Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                            Other. Specify________________________________
       No
       Yes



  Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                                    4 of ___
                                                                                                                                                      page __    5
               Andrew
                                    Case 18-16585   Economakis
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Debtor 1       _______________________________________________________                      Case number (if known)_____________________________________
               First Name    Middle Name         Last Name



Part 4:    Add the Amounts for Each Type of Unsecured Claim


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159.
    Add the amounts for each type of unsecured claim.




                                                                                       Total claim


                6a. Domestic support obligations                               6a.      0.00
Total claims                                                                           $_________________________
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                                 6b.      20,800.27
                                                                                       $_________________________

                6c. Claims for death or personal injury while you were
                    intoxicated                                                6c.      0.00
                                                                                       $_________________________

                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                                    6d.
                                                                                     + $_________________________
                                                                                        0.00


                6e. Total. Add lines 6a through 6d.                            6e.
                                                                                        20,800.27
                                                                                       $_________________________



                                                                                       Total claim

                6f. Student loans                                              6f.
Total claims                                                                             0.00
                                                                                        $_________________________
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                     6g.       0.00
                                                                                        $_________________________

                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                              6h.      0.00
                                                                                       $_________________________

                6i. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                                    6i.   + $_________________________
                                                                                        8,868.30


                6j. Total. Add lines 6f through 6i.                            6j.
                                                                                         8,868.30
                                                                                        $_________________________




  Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                           5 of ___
                                                                                                                                             page __    5
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                                                  Attachment
                                       Debtor: Andrew Economakis Case No:


Attachment 1
     110 Carroll Street
     Suite L-15
Attachment 2
     c/o Marion Dere Muller, Esq. 17 West Jefferson Street
     Suite 100
Attachment 3
     c/o William L. Hancock, Esq. Simons & Hancock, P.C.
     202 S. Randolph Street
Attachment 4
     c/o William Hancock, Esq. Simons & Hancock, P.C.
     202 S. Randolph Street
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 Fill in this information to identify your case:

 Debtor               Andrew Economakis
                      __________________________________________________________________
                       First Name             Middle Name            Last Name

 Debtor 2              ________________________________________________________________
 (Spouse If filing)    First Name             Middle Name            Last Name


                                        District of Maryland
 United States Bankruptcy Court for the:______________________________________

 Case number           ___________________________________________
  (If known)                                                                                                                          Check if this is an
                                                                                                                                         amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      
      X No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.

      Person or company with whom you have the contract or lease                            State what the contract or lease is for

2.1
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.2
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.3
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.4
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.5
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code



Official Form 106G                             Schedule G: Executory Contracts and Unexpired Leases                                                   1
                                                                                                                                           page 1 of ___
                                             Case 18-16585                   Doc 1          Filed 05/15/18   Page 32 of 40

 Fill in this information to identify your case:

 Debtor 1         Andrew   Economakis
                  __________________________________________________________________
                     First Name                     Middle Name                 Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                     Middle Name                 Last Name


                                        District of Maryland
 United States Bankruptcy Court for the:_______________________________________

 Case number         ____________________________________________
  (If known)
                                                                                                                                                Check if this is an
                                                                                                                                                  amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                  12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      
      X No
       Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      
      X No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
         No
         Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.

                 ______________________________________________________________________
                 Name of your spouse, former spouse, or legal equivalent

                 ______________________________________________________________________
                 Number             Street

                 ______________________________________________________________________
                 City                                             State                        ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                               Column 2: The creditor to whom you owe the debt

                                                                                                             Check all schedules that apply:
3.1
         ________________________________________________________________________________                     Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                             Schedule E/F, line ______
         Number            Street                                                                             Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                      ZIP Code

3.2
         ________________________________________________________________________________                     Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                             Schedule E/F, line ______
         Number            Street                                                                             Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                      ZIP Code

3.3
         ________________________________________________________________________________                     Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                             Schedule E/F, line ______
         Number            Street                                                                             Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                      ZIP Code

Official Form 106H                                                           Schedule H: Your Codebtors                                                        1
                                                                                                                                                    page 1 of ___
                                     Case 18-16585           Doc 1             Filed 05/15/18      Page 33 of 40

 Fill in this information to identify your case:


 Debtor 1           Andrew   Economakis
                    ____________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name


                                                   District of Maryland
 United States Bankruptcy Court for the: ___________________________________________

 Case number         ___________________________________________                                   Check if this is:
  (If known)
                                                                                                    An amended filing
                                                                                                    A supplement showing post-petition
                                                                                                       chapter 13 income as of the following date:
                                                                                                       ________________
Official Form 106I                                                                                     MM / DD / YYYY

Schedule I: Your Income                                                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:           Describe Employment


 1. Fill in your employment
     information.                                                         Debtor 1                                     Debtor 2 or non-filing spouse

     If you have more than one job,
     attach a separate page with
     information about additional         Employment status            
                                                                       X Employed                                   
                                                                                                                    X Employed
     employers.                                                         Not employed                               FillNot
                                                                                                                          outemployed
                                                                                                                             this information:
     Include part-time, seasonal, or
     self-employed work.
                                          Occupation                  Project Coordinator
                                                                      __________________________________          Sales
                                                                                                                  __________________________________
     Occupation may Include student
     or homemaker, if it applies.
                                          Employer’s name            Potomac  Construction Group, LLC
                                                                     __________________________________           Aryzta
                                                                                                                  __________________________________


                                          Employer’s address        4915 Auburn Avenue
                                                                   ________________________________________      14490 Catalina Street
                                                                                                                ________________________________________
                                                                     Number Street                                Number   Street

                                                                   ________________________________________     ________________________________________

                                                                   ________________________________________     ________________________________________

                                                                    Bethesda, MD 20814
                                                                   ________________________________________      San Leandro, 94577
                                                                                                                ________________________________________
                                                                     City            State  ZIP Code              City                State ZIP Code

                                          How long employed there?         7_______
                                                                             Years                                 _______
                                                                                                                   12 Years

  Part 2:           Give Details About Monthly Income

     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
     spouse unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
     below. If you need more space, attach a separate sheet to this form.

                                                                                               For Debtor 1        For Debtor 2 or
                                                                                                                   non-filing spouse
  2. List monthly gross wages, salary, and commissions (before all payroll
       deductions). If not paid monthly, calculate what the monthly wage would be.      2.     6,400.00                 13,716.95
                                                                                              $___________             $____________

  3. Estimate and list monthly overtime pay.                                            3.   + $___________
                                                                                                0.00              + $____________
                                                                                                                     0.00

  4. Calculate gross income. Add line 2 + line 3.                                       4.     6,400.00
                                                                                              $__________               13,716.95
                                                                                                                       $____________




Official Form 106I                                             Schedule I: Your Income                                                           page 1
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Debtor 1         Andrew Economakis
                 _______________________________________________________                                                  Case number (if known)_____________________________________
                 First Name         Middle Name               Last Name



                                                                                                                          For Debtor 1        For Debtor 2 or
                                                                                                                                              non-filing spouse

     Copy line 4 here ............................................................................................  4.   $___________
                                                                                                                           6,400.00              $_____________
                                                                                                                                                  13,716.95

  5. List all payroll deductions:

      5a. Tax, Medicare, and Social Security deductions                                                            5a.     780.00
                                                                                                                          $____________           2,046.83
                                                                                                                                                 $_____________
      5b. Mandatory contributions for retirement plans                                                             5b.     0.00
                                                                                                                          $____________           0.00
                                                                                                                                                 $_____________
      5c. Voluntary contributions for retirement plans                                                             5c.     0.00
                                                                                                                          $____________           2,613.39
                                                                                                                                                 $_____________
      5d. Required repayments of retirement fund loans                                                             5d.     0.00
                                                                                                                          $____________           0.00
                                                                                                                                                 $_____________
      5e. Insurance                                                                                                5e.     0.00
                                                                                                                          $____________           723.49
                                                                                                                                                 $_____________
      5f. Domestic support obligations                                                                             5f.     0.00
                                                                                                                          $____________           0.00
                                                                                                                                                 $_____________

      5g. Union dues                                                                                               5g.     0.00
                                                                                                                          $____________           0.00
                                                                                                                                                 $_____________

      5h. Other deductions. Specify: __________________________________                                            5h. + $____________
                                                                                                                          0.00                + $_____________
                                                                                                                                                 0.00
  6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                    6.     780.00
                                                                                                                          $____________           5,383.71
                                                                                                                                                 $_____________

  7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                            7.     5,620.00
                                                                                                                          $____________           8,333.24
                                                                                                                                                 $_____________


  8. List all other income regularly received:

      8a. Net income from rental property and from operating a business,
          profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
                                                                                                                           0.00
                                                                                                                          $____________           0.00
                                                                                                                                                 $_____________
            monthly net income.                                                                                    8a.
      8b. Interest and dividends                                                                                   8b.     0.00
                                                                                                                          $____________           0.00
                                                                                                                                                 $_____________
      8c. Family support payments that you, a non-filing spouse, or a dependent
          regularly receive
            Include alimony, spousal support, child support, maintenance, divorce                                          0.00                   0.00
                                                                                                                          $____________          $_____________
            settlement, and property settlement.                                                                   8c.
      8d. Unemployment compensation                                                                                8d.     0.00
                                                                                                                          $____________           0.00
                                                                                                                                                 $_____________
      8e. Social Security                                                                                          8e.     0.00
                                                                                                                          $____________           0.00
                                                                                                                                                 $_____________
      8f. Other government assistance that you regularly receive
          Include cash assistance and the value (if known) of any non-cash assistance
          that you receive, such as food stamps (benefits under the Supplemental                                          $____________           0.00
                                                                                                                                                 $_____________
          Nutrition Assistance Program) or housing subsidies.
          Specify: ___________________________________________________ 8f.

      8g. Pension or retirement income                                                                             8g.     0.00
                                                                                                                          $____________           0.00
                                                                                                                                                 $_____________

      8h. Other monthly income. Specify: _______________________________                                           8h. + $____________
                                                                                                                          0.00                 + $_____________
                                                                                                                                                  0.00
  9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                          9.     0.00
                                                                                                                          $____________           0.00
                                                                                                                                                 $_____________

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                     10.
                                                                                                                           5,620.00
                                                                                                                          $___________    +       8,333.24
                                                                                                                                                 $_____________        = $_____________
                                                                                                                                                                          13,953.24

 11. State all other regular contributions to the expenses that you list in Schedule J.
     Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
     friends or relatives.
     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
     Specify: _______________________________________________________________________________                                                                    11. + $_____________
                                                                                                                                                                        0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
     Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                          12.      13,953.24
                                                                                                                                                                         $_____________
                                                                                                                                                                         Combined
                                                                                                                                                                         monthly income
  13. Do you expect an increase or decrease within the year after you file this form?
      
      X No.
       Yes. Explain:

  Official Form 106I                                                               Schedule I: Your Income                                                                page 2
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 Fill in this information to identify your case:

 Debtor 1          Andrew Economakis
                   __________________________________________________________________
                                                                                                              Check if this is:
                     First Name              Middle Name                  Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name              Middle Name                  Last Name
                                                                                                               An amended filing
                                                                                                               A supplement showing post-petition chapter 13
                                                   District of Maryland
 United States Bankruptcy Court for the: ______________________________________                                   expenses as of the following date:
                                                                                                                  ________________
 Case number         ___________________________________________                                                  MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                      12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   
   X No. Go to line 2.
    Yes. Does Debtor 2 live in a separate household?
                  No
                  Yes. Debtor 2 must file Official Forms 106J-2, Expenses for Separate Household of Debtor 2.
2. Do you have dependents?                  
                                            X No                                            Dependent’s relationship to                 Dependent’s   Does dependent live
    Do not list Debtor 1 and                 Yes. Fill out this information for            Debtor 1 or Debtor 2                        age           with you?
    Debtor 2.                                    each dependent .........................
    Do not state the dependents’
                                                                                                                                                       No
                                                                                            _________________________                   ________
    names.                                                                                                                                             Yes
                                                                                            _________________________                   ________       No
                                                                                                                                                       Yes
                                                                                            _________________________                   ________       No
                                                                                                                                                       Yes
                                                                                            _________________________                   ________       No
                                                                                                                                                       Yes
                                                                                            _________________________                   ________       No
                                                                                                                                                       Yes
3. Do your expenses include
    expenses of people other than
                                            
                                            X No
    yourself and your dependents?            Yes

Part 2:          Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form B 106I.)                                                   Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
     any rent for the ground or lot.                                                                                              4.
                                                                                                                                           4,600.00
                                                                                                                                          $_____________________

     If not included in line 4:
     4a.       Real estate taxes                                                                                                  4a.      0.00
                                                                                                                                          $_____________________
     4b.       Property, homeowner’s, or renter’s insurance                                                                       4b.      186.00
                                                                                                                                          $_____________________
     4c.       Home maintenance, repair, and upkeep expenses                                                                      4c.      1,666.67
                                                                                                                                          $_____________________
     4d.       Homeowner’s association or condominium dues                                                                        4d.      0.00
                                                                                                                                          $_____________________

 Official Form 106J                                             Schedule J: Your Expenses                                                                  page 1
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Debtor 1         Andrew Economakis
                 _______________________________________________________                  Case number (if known)_____________________________________
                 First Name    Middle Name        Last Name




                                                                                                                      Your expenses


 5. Additional mortgage payments for your residence, such as home equity loans                                5.
                                                                                                                      679.07
                                                                                                                     $_____________________


 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                    6a.     600.00
                                                                                                                     $_____________________
      6b.   Water, sewer, garbage collection                                                                  6b.     125.00
                                                                                                                     $_____________________
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.     219.00
                                                                                                                     $_____________________
      6d.   Other. Specify: _______________________________________________                                   6d.     0.00
                                                                                                                     $_____________________

 7. Food and housekeeping supplies                                                                            7.      600.00
                                                                                                                     $_____________________

 8. Childcare and children’s education costs                                                                  8.      0.00
                                                                                                                     $_____________________
 9. Clothing, laundry, and dry cleaning                                                                       9.      100.00
                                                                                                                     $_____________________
10.   Personal care products and services                                                                     10.     100.00
                                                                                                                     $_____________________
11.   Medical and dental expenses                                                                             11.     50.00
                                                                                                                     $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                      350.00
                                                                                                                     $_____________________
      Do not include car payments.                                                                            12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.     100.00
                                                                                                                     $_____________________
14.   Charitable contributions and religious donations                                                        14.     0.00
                                                                                                                     $_____________________
                                                                                                                                                   16.
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                     15a.    0.00
                                                                                                                     $_____________________
      15b. Health insurance                                                                                   15b.    0.00
                                                                                                                     $_____________________
      15c. Vehicle insurance                                                                                  15c.    198.00
                                                                                                                     $_____________________
      15d. Other insurance. Specify:_______________________________________                                   15d.    0.00
                                                                                                                     $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                      0.00
                                                                                                                     $_____________________
      Specify: ________________________________________________________                                       16.

17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                                         17a.    0.00
                                                                                                                     $_____________________

      17b. Car payments for Vehicle 2                                                                         17b.    0.00
                                                                                                                     $_____________________

      17c. Other. Specify:_______________________________________________                                     17c.   $_____________________

      17d. Other. Specify:_______________________________________________                                     17d.   $_____________________

18.   Your payments of alimony, maintenance, and support that you did not report as deducted from
      your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.    0.00
                                                                                                                     $_____________________

19.   Other payments you make to support others who do not live with you.
      Specify:_______________________________________________________                                          19.    0.00
                                                                                                                     $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                        20a.    4,199.00
                                                                                                                     $_____________________

      20b. Real estate taxes                                                                                  20b.    0.00
                                                                                                                     $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                       20c.    0.00
                                                                                                                     $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                           20d.    0.00
                                                                                                                     $_____________________

      20e. Homeowner’s association or condominium dues                                                        20e.    0.00
                                                                                                                     $_____________________



  Official Form 106J                                          Schedule J: Your Expenses                                                   page 2
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Debtor 1        Andrew   Economakis
                _______________________________________________________                       Case number (if known)_____________________________________
                First Name    Middle Name        Last Name




21.    Other. Specify: _________________________________________________                                          21.   +$_____________________
                                                                                                                          0.00

22.    Calculate your monthly expenses.
       22a. Add lines 4 through 21.
                                                                                                                          13,772.74
                                                                                                                         $_____________________
                                                                                                                         $_____________________
       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2
       22c. Add line 22a and 22b. The result is your monthly expenses.                                            22.
                                                                                                                          13,772.74
                                                                                                                         $_____________________



23. Calculate your monthly net income.

      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                        23a.
                                                                                                                           13,953.24
                                                                                                                          $_____________________

      23b.   Copy your monthly expenses from line 22 above.                                                      23b.   – $_____________________
                                                                                                                           13,772.74
      23c.   Subtract your monthly expenses from your monthly income.
             The result is your monthly net income.                                                              23c.
                                                                                                                           180.50
                                                                                                                          $_____________________




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      
      X No.
       Yes.       Explain here:




  Official Form 106J                                         Schedule J: Your Expenses                                                        page 3
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 Fill in this information to identify your case:

 Debtor 1          Andrew                                        Economakis
                   __________________________________________________________________
                     First Name                      Middle Name                     Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                     Last Name


 United States Bankruptcy Court for the: District of Maryland
                                         ______________________________________

 Case number         ___________________________________________                                                                                                          Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Part 1:        Summarize Your Assets


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 2,818,000.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 22,700.00
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 2,840,700.00
                                                                                                                                                                            ________________



Part 2:        Summarize Your Liabilities



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 2,062,165.97
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 20,800.27
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ..........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ......................................
                                                                                                                                                                      + $ 83,544.67
                                                                                                                                                                          ________________


                                                                                                                                     Your total liabilities               $ 2,166,510.91
                                                                                                                                                                            ________________



Part 3:        Summarize Your Income and Expenses


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 13,953.24
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22, Column A, of Schedule J..................................................................................                    $ 13,772.74
                                                                                                                                                                            ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
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Debtor 1         Andrew                        Economakis
                 _______________________________________________________                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Part 4:        Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
    
    X Yes

7. What kind of debt do you have?

    
    X Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-10 for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                               $ 6,400.00
                                                                                                                                         _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                           Total claim


     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)
                                                                                                            0.00
                                                                                                           $_____________________

    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)
                                                                                                            20,800.27
                                                                                                           $_____________________

    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)
                                                                                                            0.00
                                                                                                           $_____________________


    9d. Student loans. (Copy line 6f.)
                                                                                                            0.00
                                                                                                           $_____________________

    9e. Obligations arising out of a separation agreement or divorce that you did not report as
        priority claims. (Copy line 6g.)                                                                    0.00
                                                                                                           $_____________________


    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                 0.00
                                                                                                        + $_____________________


    9g. Total. Add lines 9a through 9f.                                                                     20,800.27
                                                                                                           $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
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Fill in this information to identify your case:

Debtor 1          Andrew Economakis
                  __________________________________________________________________
                    First Name                Middle Name          Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name                Middle Name          Last Name


United States Bankruptcy Court for the: District of Maryland
                                        _______________________________________
Case number         ___________________________________________
(If known)
                                                                                                                                      Check if this is an
                                                                                                                                         amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor’s Schedules                                                                                                 12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Below



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       X No
       Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                              Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




    /s/Andrew Economakis
          ______________________________________________          
                                                                   _____________________________
         Signature of Debtor 1                                        Signature of Debtor 2


         Date 05/15/2018
              _________________                                       Date _________________
                MM /    DD       /   YYYY                                      MM / DD /   YYYY




  Official Form 106Dec                                      Declaration About an Individual Debtor’s Schedules                                   page 1
